
952 So.2d 1209 (2007)
D.W.A., a Child, Appellant,
v.
STATE of Florida, Appellee.
No. 5D04-2010.
District Court of Appeal of Florida, Fifth District.
March 30, 2007.
James S. Purdy, Public Defender, and Rosemarie Farrell, Assistant Public Defender, Daytona Beach, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Rebecca Rock McGuigan, Assistant Attorney General, Daytona Beach, for Appellee.

ON REMAND
PER CURIAM.
This case is on remand from the Florida Supreme Court in light of V.K.E. v. State, 934 So.2d 1276 (Fla.2006).
For the reasons stated in the original opinion filed August 19, 2005, we reverse the disposition orders because they might be construed to authorize commitment for a term that exceeds the statutory maximum.
As to Appellant's second point on appeal related to the imposition of statutory surcharges pursuant to sections 938.08 and 938.085, Florida Statutes, and in light of V.K.E., we strike those portions of the disposition orders that impose a $201 "domestic violence" surcharge and a $151 "rape crisis center" surcharge.
In all other respects, the disposition orders are affirmed.
AFFIRMED in part; REVERSED in part and REMANDED.
GRIFFIN, PALMER and TORPY, JJ., concur.
